Case 2:04-cr-20345-.]PI\/| Document 10 Filed 04/25/05 Page 1 of 2 Page|D 15

IN THE UNITED sTATES DISTRICT COURT g 63
FoR THE wEsTERN DISTRICT oF TENNESSEE ,~
wEsTERN DIVISION `

 

UNITED sTATEs oF AMERICA \_i‘l.‘i§b @;_~ wa § .;::
' 1 'JL;.viPH,-’S

Plaintiff,

Criminal No. §EZzJZ{?j?ZB:Ml

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v. )

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ij§:;;@©,g;@z”(:4§;%%£§7 ) (lBO-Day Continuance)

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Defendant(s).

 

REPOR'I‘ ON FUGITIVE STA'I'US AND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav, October 28, 2005, at

10:30 a.m.

so oRDERED this 22rml day Of April, 2005.

-GWQQQ@

JON PI-IIPPS MCCALLA
TED STA'I`ES DIS'I`RICT JUDGE

 

   
 

ASS Stant bates Atto§g]i?goc!,:ment entered on the docket Sheet m -‘-w.\,d 4 /O
with Hule ..._ ar_ j_‘or 32(b) FHCrP on ___l]l/:M§__________

   

UNITED sTATE ISTRIC CoUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CR-20345 Was distributed by faX, mail, or direct printing on
Apri125, 2005 to the parties listed.

 

 

Dan NeWsom

U_S_ ATTORNEY'S OFFICE
167 N_ Main St_

Ste_ 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

